Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 1 of 32




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA


   TULSA CANCER INSTITUTE,
   PLLC, et al.,

                     Plaintiffs,
         v.                                 Case No. 4:15-cv-00157-TCK-TLW

   GENENTECH INC., a California
   Corporation,

                     Defendant.




                      GENENTECH, INC.’S MOTION TO DISMISS
              THE SECOND AMENDED COMPLAINT AND BRIEF IN SUPPORT
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 2 of 32




                                                  TABLE OF CONTENTS

   I.     INTRODUCTION AND SUMMARY OF ARGUMENT..................................................1

   II.    FACTUAL BACKGROUND .............................................................................................3

   III.   LAW AND ARGUMENT...................................................................................................6

          A.        Plaintiffs’ Allegations Regarding The Net Weight, Concentration, And
                    Total Reconstituted Volume Of Herceptin Fail To State A Claim Under
                    Any Theory..............................................................................................................6

                    1.         Plaintiffs’ assertion that vials do not contain 440 milligrams of
                               Herceptin is belied by their own Complaint and even if accepted as
                               true, fails to show any misconduct. .............................................................6

                    2.         Plaintiffs’ allegations regarding the concentration of the
                               reconstituted solution fail to show any misconduct.....................................8

                    3.         Plaintiffs’ allegation that each vial should contain a reconstituted
                               volume of 20.952 milliliters does not show any misconduct. .....................9

          B.        Plaintiffs’ Extractable Volume Allegations Fail To Show Any
                    Misconduct. ...........................................................................................................10

          C.        Plaintiffs’ Claims Are Preempted By Federal Law. ..............................................13

                    1.         State-law claims that would impose obligations requiring prior
                               FDA approval are preempted under recent Supreme Court
                               decisions. ...................................................................................................14

                    2.         Reformulating Herceptin to ensure each vial delivers a volume of
                               20.952 milliliters following reconstitution would require prior
                               FDA approval. ...........................................................................................17

          D.        Plaintiffs’ Warranty Claims Fail As A Matter Of Law. ........................................18

                    1.         The net weight and concentration statements in the Herceptin
                               labeling are federally mandated disclosures and thus do not
                               constitute an express warranty...................................................................19

                    2.         Genentech has not breached any express warranty. ..................................21

                    3.         Plaintiffs have failed to plead any injury...................................................22

          E.        Plaintiffs’ Unjust Enrichment Claim Fails As A Matter Of Law. .........................23

   IV.    CONCLUSION .................................................................................................................24


                                                                     i
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 3 of 32




                                                  TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
   CASES

   Adamson v. Ortho–McNeil Pharm., Inc.,
      463 F. Supp. 2d 496 (D.N.J. 2006)............................................................................................4

   Alvarado v. KOB-TV, LLC,
      493 F.3d 1210 (10th Cir. 2007) .................................................................................................4

   Amos v. Biogen Idec Inc.,
     28 F. Supp. 3d 164 (W.D.N.Y. 2014)......................................................................................17

   Ashcroft v. Iqbal,
      556 U.S. 662 (2009) ............................................................................................................6, 11

   Bell Atl. Corp. v. Twombly,
       550 U.S. 544 (2007) ......................................................................................................6, 11, 13

   Booker v. Johnson & Johnson,
      54 F. Supp. 3d 868 (N.D. Ohio 2014) .....................................................................................17

   Buhendwa v. Regional Transp. Dist.,
      82 F. Supp. 3d 1259...................................................................................................................5

   Carter v. Alcon Labs., Inc.,
      2014 WL 989002 (E.D. Mo. Mar. 13, 2014)...........................................................................16

   Clappier v. Flynn,
      605 F.2d 519 (10th Cir. 1979) ...................................................................................................7

   Ebner v. Fresh Inc.,
      2013 WL 9760035 (C.D. Cal. Sept. 11, 2013) ..............................................................2, 13, 24

   Geier v. Am. Honda Motor Co.,
      529 U.S. 861 (2000) ................................................................................................................14

   Hawkins v. UGI Corp.,
     2016 WL 270372 (C.D. Cal. Jan. 21, 2016)............................................................2, 12, 13, 22

   Higgins v. Monsanto Co.,
      862 F. Supp. 751 (N.D.N.Y. 1994) .........................................................................................20

   In re Celexa & Lexapro Mktg. & Sales Practices Litig.,
       779 F.3d 34 (1st Cir. 2015)................................................................................................16, 17


                                                                       ii
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 4 of 32




   In re Universal Serv. Fund Tel. Billing Practice Litig.,
       619 F.3d 1188 (10th Cir. 2010) ...............................................................................................13

   Morrison v. Stonebridge Life. Ins. Co.,
     2015 WL 137261 (W.D. Okla. Jan. 9, 2015)...........................................................................23

   Mutual Pharm. Co. v. Bartlett,
      133 S. Ct. 2466 (2013) ......................................................................................3, 14, 15, 16, 17

   N.M. ex rel. Richardson v. Bureau of Land Mgmt.,
      565 F.3d 683 (10th Cir. 2009) ...............................................................................................5, 7

   Naylor Farms, Inc. v. Anadarko OGC Co.,
      2011 WL 7267851 (W.D. Okla. June 15, 2011)......................................................................23

   O’Connor v. Henkel Corp.,
      2015 WL 5922183 (E.D.N.Y. Sept. 22, 2015) ..............................................................8, 10, 20

   Oxford Asset Mgmt., Ltd. v. Jaharis,
      297 F.3d 1182 (11th Cir. 2002) .................................................................................................4

   PLIVA, Inc. v. Mensing,
      131 S. Ct. 2567 (2011) ............................................................................................3, 14, 15, 16

   Purkey v. Green,
      28 F. App’x 736 (10th Cir. 2001)..............................................................................................4

   Quarles v. Little River Energy Co.,
      2008 U.S. Dist. LEXIS 4128 (N.D. Okla. Jan. 18, 2008)........................................................23

   Quillin v. American Hosp. Supply Corp., Inc.,
      1997 WL 382095 (N.D. Okla. Mar. 31, 1997) ........................................................................20

   Riegel v. Medtronic, Inc.,
      552 U.S. 312 (2008) ................................................................................................................14

   Silver v. Glass,
       459 F. App’x 691 (10th Cir. 2012)..........................................................................................11

   Slover v. Equitable Variable Life Ins. Co.,
      443 F. Supp. 2d 1272 (N.D. Okla. 2006) ................................................................................23

   Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
       551 U.S. 308 (2007) ..................................................................................................................4

   Thompson v. Allergan USA, Inc.,
      993 F. Supp. 2d 1007 (E.D. Mo. 2014) .............................................................................17, 18



                                                                       iii
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 5 of 32




   Welchert v. American Cyanamid, Inc.,
      59 F.3d 69 (8th Cir. 1995) .......................................................................................................20

   Wyeth v. Levine,
      555 U.S. 555 (2009) ..........................................................................................................14, 15

   Yates v. Ortho-McNeil-Janssen Pharm., Inc.,
      808 F.3d 281 (6th Cir. 2015) .......................................................................................16, 17, 18

   RULES

   Fed. R. Civ. P. 8 ............................................................................................................................11

   Fed. R. Civ. P. 12(b)(6) ...............................................................................................................1, 4

   Fed. R. Evid. 201 .............................................................................................................................5

   STATUTES AND REGULATIONS

   2 Okla. Stat. § 2-14-35(8),(10) ........................................................................................................8

   12A Okla. Stat. § 2-102 .................................................................................................................18

   12A Okla. Stat. § 2-313(1) ......................................................................................................18, 19

   12A Okla. Stat. § 2-314(2)(f) ........................................................................................................19

   21 C.F.R. § 201.51.........................................................................................................................20

   21 C.F.R. § 201.51(a) ....................................................................................................................19

   21 C.F.R. § 201.51(g) ......................................................................................................................8

   21 C.F.R. § 314.3(b) ......................................................................................................................18

   21 C.F.R. § 314.70(b)(2)(i)..........................................................................................15, 16, 17, 18

   21 C.F.R. § 601.12(b)(2)(i)............................................................................................................16

   42 C.F.R. § 414.904.........................................................................................................................5

   21 U.S.C. § 352(b).....................................................................................................................7, 19

   Food, Drug, and Cosmetic Act ........................................................................................................7

   Okla. Admin. Code § 35:10-11-1 ....................................................................................................8

   Uniform Commercial Code ...............................................................................................18, 19, 23


                                                                         iv
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 6 of 32




   OTHER AUTHORITIES

   Ben Leach, Medicare Reimbursement Cuts Caused By Sequestration Begin to Take Effect
      (Apr. 4, 2013), http://www.onclive.com/web-exclusives/Medicare-Reimbursement-
      Cuts-Caused-by-Sequestration-Begin-to-Take-Effect...............................................................5

   Herceptin Drug Label Information (April 2015),
      http://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=492dbdb2-077e-4064-
      bff3-372d6af0a7a2.....................................................................................................................4

   Magellan Rx Mgmt., Medical Pharmacy Trend Report (5th ed. 2014),
     https://www1.magellanrx.com/media/216383/2014-magellan-rx-trend-report.pdf ..................5

   Medicare Claims Processing Manual, Ch. 17 - Drugs and Biologicals,
     https://www.cms.gov/Regulations-and-
     Guidance/Guidance/Manuals/Downloads/clm104c17.pdf ....................................................5, 6

   Medicare Part B Drug Average Sales Price, https://www.cms.gov/Medicare/Medicare-
     Fee-for-Service-Part-B-Drugs/McrPartBDrugAvgSalesPrice/index.html ................................5

   Nat’l Institute of Standards and Technology, NIST Handbook 133, Checking the Net
      Contents of Packaged Goods (2016),
      http://www.nist.gov/pml/wmd/pubs/upload/h133-16-final2.pdf...............................................7




                                                                       v
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 7 of 32




   I.        INTRODUCTION AND SUMMARY OF ARGUMENT

             Four cancer treatment clinics (“Plaintiffs”) challenge Genentech, Inc.’s (“Genentech”)

   labeling of an FDA-approved cancer medicine, not because the medicine harmed anyone, or was

   ineffective, or because Genentech deceived Plaintiffs into purchasing the medicine, but solely

   because Plaintiffs claim they are unable to extract every drop of the medicine from each vial

   after it is mixed with fluid to form an injectable solution. According to Plaintiffs, they can only

   extract 20.2 milliliters (“mL”) (or 96.4%) of the Herceptin solution in each vial instead of the

   entire 20.952 mL they anticipate each vial should contain following reconstitution (mixing of

   fluid with the Herceptin). Plaintiffs infer from this that Genentech has misrepresented the

   amount of Herceptin in the vial in one of three ways: (1) by stating the vials contain 440

   milligrams (“mg”) of Herceptin; (2) by stating the vials contain Herceptin at a concentration of

   21 mg/mL when reconstituted; or (3) by allegedly representing the vials contain 20.952 mL of

   Herceptin when reconstituted.1 Plaintiffs assert causes of action for breach of warranty and

   unjust enrichment. But Plaintiffs ignore that federal law and Oklahoma law allow for minor

   variances in the stated contents of products, inexplicably (and unreasonably) assuming that the

   product labeling must state precisely to the decimal point the net weight and concentration in

   each vial, which is impossible to do. Plaintiffs also have not pleaded any injury from purchasing

   Herceptin because they are reimbursed by Medicare and private health plans for the Herceptin

   they buy and administer to patients.

             Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Genentech respectfully

   submits that Plaintiffs’ Second Amended Complaint (“Complaint” or “SAC”) fails to state a

   claim for relief and must be dismissed for several reasons:



   1
       This third statement regarding the volume in milliliters does not appear in the labeling.

                                                      1
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 8 of 32




           First, Plaintiffs allege no factual support for their belief that Herceptin vials contain less

   than 440 mg of Herceptin. Indeed, they attach internal Genentech correspondence to their

   Complaint indicating just the opposite. The vials also are labeled as “nominally” containing 440

   mg, meaning the net weight may vary from vial to vial, which is entirely consistent with federal

   law and Oklahoma law permitting minor weight variances in the manufacturing process.

           Second, given that the net weight in each vial is approximate with small variances

   permitted by law, it follows that the concentration of 21 mg/mL is approximate and subject to

   slight variation.

           Third, Plaintiffs’ complaint that each vial should contain 20.952 mL of reconstituted

   solution fails because the labeling does not state what the volume will be after reconstitution,

   Plaintiffs wrongly and unreasonably assume the stated weight and concentration are exact to the

   decimal point, and the allegation is not well-pleaded, in that Plaintiffs have not tested the amount

   of Herceptin solution the vials contain.

           Fourth, Plaintiffs’ claim that they cannot recover the full theoretical contents of 20.952

   mL from each vial after reconstitution fails because the labeling does not represent that providers

   can extract the entire amount from each vial, and because it ignores the most plausible and

   completely lawful explanation for the volume extracted, not to mention the only explanation

   supported by their alleged testing: As with many consumer products, such as shampoo and

   toothpaste, Plaintiffs simply cannot recover every bit of product from the container. Federal

   courts have dismissed similar claims as implausible. See, e.g., Hawkins v. UGI Corp., 2016 WL

   270372, at *2 (C.D. Cal. Jan. 21, 2016); Ebner v. Fresh Inc., 2013 WL 9760035, at *7 (C.D. Cal.

   Sept. 11, 2013).




                                                     2
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 9 of 32




          Fifth, Plaintiffs’ claims are preempted by federal law. Plaintiffs allege that Oklahoma

   law requires Genentech to market Herceptin in vials that ensure providers can recover 20.952

   mL. But due to the residual solution remaining in each vial, ensuring the vials can deliver the

   volume Plaintiffs demand would require Genentech to increase the amount of Herceptin in each

   vial beyond 440 mg and the amount of fluid beyond 20 mL. This would require prior FDA

   approval. Because Genentech cannot independently do what Plaintiffs’ state-law claims require,

   the claims are preempted. PLIVA, Inc. v. Mensing, 131 S. Ct. 2567 (2011); Mutual Pharm. Co.

   v. Bartlett, 133 S. Ct. 2466 (2013).

          Sixth, Plaintiffs’ warranty claims fail for the additional reasons that the statements in the

   Herceptin labeling are federally required disclosures rather than voluntary promises and

   therefore they do not constitute a warranty, and because Plaintiffs have not pleaded any actual

   injury: Plaintiffs are reimbursed by Medicare and private health plans for the Herceptin they

   purchase and administer to their patients.

          Finally, Plaintiffs’ unjust enrichment claim fails for the additional reasons that Plaintiffs

   have an adequate remedy at law and, in any event, Genentech has not received any unjust benefit

   from the sale of Herceptin.

          For all of these reasons, Genentech respectfully moves the Court to dismiss Plaintiffs’

   Complaint in its entirety.

   II.    FACTUAL BACKGROUND

          Herceptin® (trastuzumab) (“Herceptin”) is an FDA-approved prescription medication for

   the treatment of certain types of metastatic breast cancer and early breast cancer that overexpress

   a protein called HER2.p2 The overexpression of the HER2 protein causes breast cancers to grow


   2
     Herceptin is also used in the treatment of other cancer types, but its predominant use is for
   breast cancer.
                                                   3
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 10 of 32




   and spread faster. Herceptin targets this protein, which helps to slow or stop the cancer’s

   growth. The medicine is a highly effective treatment for women with this type of breast cancer.

            Genentech supplies Herceptin in a multi-use vial nominally containing 440 mg of

   Herceptin as a lyophilized (freeze-dried) powder.3 Each vial of Herceptin is accompanied by a

   20 mL vial of bacteriostatic water that is used to dissolve the powder, a process known as

   reconstitution. When preparing the medication for use in accordance with its FDA-approved

   prescribing information, health care providers extract 20 mL of diluent from its vial using a

   sterile syringe and then inject it into the vial of lyophilized Herceptin powder.4 The resulting

   solution contains Herceptin at a concentration of approximately 21 mg per mL. The providers

   then calculate the amount of solution needed for a specific patient based on the patient’s body

   weight (e.g., 2 mg/kg). Once the dose is calculated, providers withdraw the appropriate amount

   of solution from the vial and inject it into an I.V. bag for delivery to the patient. Any remaining

   Herceptin solution can be used for 28 days to treat additional patients.


   3
         See     Herceptin    Drug      Label     Information     (April     2015),     available     at
   http://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=492dbdb2-077e-4064-bff3-
   372d6af0a7a2 (last visited Feb. 16, 2016). The Court may consider the Herceptin labeling on a
   motion to dismiss because it is referenced in the Complaint, central to Plaintiffs’ claims, and it is
   a matter of public record available on the National Institute of Health’s website. See Tellabs,
   Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (“[C]ourts must consider the
   complaint in its entirety, as well as other sources courts ordinarily examined when ruling on
   12(b)(6) motions to dismiss, in particular, documents incorporated into the complaint by
   reference, and matters of which a court may take judicial notice.”); Alvarado v. KOB-TV, LLC,
   493 F.3d 1210, 1215 (10th Cir. 2007) (“[N]otwithstanding the usual rule that a court should
   consider no evidence beyond the pleadings on a Rule 12(b)(6) motion to dismiss, ‘the district
   court may consider documents referred to in the complaint if the documents are central to the
   plaintiff’s claim and the parties do not dispute the documents’ authenticity.’”); Oxford Asset
   Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002) (approving district court’s decision
   to take judicial notice of Niaspan package insert); see also Purkey v. Green, 28 F. App’x 736,
   742 n.4 (10th Cir. 2001) (taking judicial notice of properties of prescription medication based on
   description of medication contained in Physicians’ Desk Reference); Adamson v. Ortho–McNeil
   Pharm., Inc., 463 F. Supp. 2d 496, 500–01 (D.N.J. 2006) (considering a drug packaging insert on
   a motion to dismiss).
   4
       See Dosage and Administration section, Herceptin Drug Label Information (April 2015).

                                                    4
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 11 of 32




          Medicare and private health plans reimburse providers for the Herceptin they purchase

   and administer to patients. See, e.g., Medicare Claims Processing Manual, Ch. 17 - Drugs and

   Biologicals,      at      33,          available       at       https://www.cms.gov/Regulations-and-

   Guidance/Guidance/Manuals/Downloads/clm104c17.pdf (showing example                     for Herceptin

   (trastuzumab)) (last visited Feb. 16, 2016).5 By law, the Medicare reimbursement rate is an

   amount equal to 106 percent of the manufacturer’s average sales price (“ASP”).6 See 42 C.F.R.

   §    414.904;    Medicare       Part      B    Drug         Average   Sales   Price,   available   at

   https://www.cms.gov/Medicare/Medicare-Fee-for-Service-Part-B-

   Drugs/McrPartBDrugAvgSalesPrice/index.html (last visited Feb. 16, 2016). Private health plans

   typically reimburse providers at an even higher rate than Medicare.7




   5
    The Court may take judicial notice of information on government websites. See N.M. ex rel.
   Richardson v. Bureau of Land Mgmt., 565 F.3d 683, 703 n.22 (10th Cir. 2009) (taking judicial
   notice of information on “[t]he websites of two federal agencies”); Buhendwa v. Regional
   Transp. Dist., 82 F. Supp. 3d 1259, 1267 n.2 (D. Colo. 2015) (“The court may take judicial
   notice of the contents of an agency’s website.”); Fed. R. Evid. 201.
   6
     The federal sequestration budget cuts of 2013 effectively reduced the reimbursement rate to
   ASP plus 4.3 percent beginning in April 2013. Ben Leach, Medicare Reimbursement Cuts
   Caused By Sequestration Begin to Take Effect (Apr. 4, 2013), available at
   http://www.onclive.com/web-exclusives/Medicare-Reimbursement-Cuts-Caused-by-
   Sequestration-Begin-to-Take-Effect (last visited Feb. 16, 2016).
   7
     According to a recent survey of 48 commercial health plans representing 125 million covered
   lives, private insurers typically reimbursed physician offices for injectable drugs in 2014 at rates
   well above the Medicare reimbursement rate. Magellan Rx Mgmt., Medical Pharmacy Trend
   Report, at 8 (5th ed. 2014), available at https://www1.magellanrx.com/media/216383/2014-
   magellan-rx-trend-report.pdf (last visited Feb. 16, 2016).

                                                      5
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 12 of 32




   III.   LAW AND ARGUMENT

          A.      Plaintiffs’ Allegations Regarding The Net Weight, Concentration, And Total
                  Reconstituted Volume Of Herceptin Fail To State A Claim Under Any
                  Theory.

                  1.      Plaintiffs’ assertion that vials do not contain 440 milligrams of
                          Herceptin is belied by their own Complaint and even if accepted as
                          true, fails to show any misconduct.

          Plaintiffs allege that Herceptin vials might not contain the labeled amount of 440 mg.8

   (SAC ¶¶ 16, 42, 45, 52(a).) Plaintiffs contend there is a Herceptin “shortage” that “could be

   caused by Genentech providing 424 mg instead of the 440 mg represented and warranted by

   Genentech.” (Id. ¶ 16.) But Plaintiffs plead no facts to support this allegation, and the facts they

   do plead show otherwise.

          Plaintiff’s “naked assertion” of a “shortage” of Herceptin is insufficient to establish any

   misconduct by Genentech. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To survive a motion to

   dismiss, the “[f]actual allegations must be enough to raise a right to relief above the speculative

   level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Only “well-pleaded factual

   allegations” are “entitled to the assumption of truth.” Iqbal, 556 U.S. at 679.

          The Complaint shows that Plaintiffs have not tested any Herceptin vials to determine

   whether they contain 440 mg of Herceptin, either before or after reconstitution.9 Furthermore,

   the only piece of evidence Plaintiffs rely on—internal correspondence allegedly from one of

   Genentech’s production engineers, which is attached as Exhibit 1 to the Complaint—completely

   contradicts any “shortage” claim. (See Dkt. 87-1) (stating that the labeling “nominally state[s]

   8
    Though Plaintiffs state in the Second Amended Complaint that the vials may contain less than
   440 mg, their real complaint appears to be that they are unable to extract 440 mg. (See SAC ¶¶
   14, 37, 41, 47, 50, 57.) Notably, Plaintiffs’ original complaint (Dkt. 2) did not allege any
   shortage of Herceptin lyophilized powder in the vials, only that the recoverable amount was less.
   9
    The only laboratory testing Plaintiffs allege evaluated the amount of reconstituted solution they
   could extract from the vials, not the weight of the Herceptin. (SAC ¶ 41.)

                                                    6
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 13 of 32




   440 mg” and that vials are filled with “between 440 and 450 mg” of lyophilized Herceptin).

   Accordingly, Plaintiffs’ conclusory allegations that the Herceptin vials may contain less than 440

   mg should be disregarded.

             Even if the Court accepts as true the allegation that vials do not contain 440 mg, Plaintiffs

   have not alleged any misconduct because the labeling states that the vials “nominally contain[]

   440 mg of Herceptin as a lyophilized sterile powder.” Highlights of Prescribing Information,

   Dosage Forms and Strengths, Herceptin Drug Label Information (April 2015) (emphasis

   added).10 Federal standards for net contents of goods define “nominal” as “[a] designated or

   theoretical size that may vary from the actual.” Nat’l Institute of Standards and Technology,

   NIST Handbook 133, Checking the Net Contents of Packaged Goods, at 182 (2016), available at

   http://www.nist.gov/pml/wmd/pubs/upload/h133-16-final2.pdf (last visited Feb. 16, 2016).11

   Thus, the statement in the Herceptin labeling that vials contain 440 mg refers to the approximate

   net weight; it is not a guarantee any particular vial contains exactly 440 mg.

             Federal law allows for minor variances in the net weight of products. Although the

   federal Food, Drug and Cosmetic Act (“FDCA”) requires that the labeling for Herceptin contain

   an “accurate statement of the quantity of the contents in terms of weight” of the vial, the FDCA

   clarifies that “reasonable variations” from the stated weight “shall be permitted … by regulations

   prescribed by the Secretary [of Health and Human Services].” 21 U.S.C. § 352(b). Those

   regulations provide that “variations from stated quantity of contents shall not be unreasonably




   10
        See note 2, supra.
   11
     The National Institute of Standards and Technology is an agency of the U.S. Department of
   Commerce. The Court may take judicial notice of NIST publications. See Clappier v. Flynn,
   605 F.2d 519, 535 (10th Cir. 1979) (taking judicial notice of official government publication);
   Richardson, 565 F.3d at 703 n.22.
                                                      7
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 14 of 32




   large.” 21 C.F.R. § 201.51(g) (emphasis added). Plaintiffs’ allegations, even taken as true, fail

   to establish any such variation.

          Plaintiffs suggest the vials they tested as to the recoverable amount of solution “could”

   contain only 424 mg of Herceptin instead of 440 mg, though Plaintiffs did not test the weight of

   the Herceptin. (SAC ¶¶ 42, 45.) Even if true (and Plaintiffs plead no facts to support this), it

   would represent a variance of only 16 mg, or 3.6% of the stated net weight. Plaintiffs do not

   explain why an alleged shortfall of 3.6% is actionable. For example, Oklahoma law allows for

   much larger variances in the net weight of products.         See 2 Okla. Stat. § 2-14-35(8),(10)

   (adopting federal standards from NIST Handbook 133); id. § 2-14-38a (same); Okla. Admin.

   Code § 35:10-11-1 (same); NIST Handbook 133, at 112, Table 2-5 (permitting variation of up to

   10% for products with a labeled quantity under 36 grams); see also O’Connor v. Henkel Corp.,

   2015 WL 5922183, at *7-10 (E.D.N.Y. Sept. 22, 2015) (dismissing claims of shortfall in net

   weight of deodorant product as implausible in light of “reasonable variations” permitted by law).

   Accordingly, Plaintiffs have not pleaded any misconduct regarding the net weight in the vials.

                  2.      Plaintiffs’ allegations regarding the concentration of the reconstituted
                          solution fail to show any misconduct.

          Plaintiffs similarly allege that the Herceptin labeling incorrectly lists the concentration of

   Herceptin in the reconstituted solution as 21 mg/mL, when it “could be” 21.8 mg/mL. (SAC ¶¶

   17, 18, 42, 46, 52(b).) Even if the Court accepts that the concentration may be 21.8 mg/mL,12

   this fails to state a claim because the labeling does not state the concentration is “21.0 mg/mL.”

   As with the net weight of lyophilized Herceptin powder, the concentration of the reconstituted

   solution is approximate.


   12
     Plaintiffs’ only support for this allegation is the alleged 2002 internal correspondence from a
   Genentech production engineer, as Plaintiffs did not perform any laboratory testing regarding the
   concentration of the reconstituted solution. (SAC ¶¶ 18, 41.)
                                                    8
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 15 of 32




          Labeling the concentration as a whole number takes into account the expected

   variability. Indeed, given that the concentration is determined in part by the actual net weight of

   the lyophilized Herceptin, which by law may vary slightly, the resulting concentration

   necessarily may vary slightly as well. In addition, providers manually withdraw the diluent from

   a separate vial using a syringe and inject it into the vial of Herceptin, so the amount of diluent

   mixed with Herceptin is unlikely to be precisely 20.0 mL each time. A variance in the amount of

   diluent injected of just a fraction of a milliliter—which indisputably is beyond Genentech’s

   control—also impacts the resulting concentration.13

          Finally, avoiding decimal fractions in the concentration, which could not be predicted to

   the tenth of a milligram per milliliter in any event, makes it easier for providers to perform the

   mathematical calculation when determining the dosage based on the patient’s body weight. For

   all these reasons, Plaintiffs’ allegations regarding the concentration of Herceptin also cannot be

   the basis for any claim.

                  3.      Plaintiffs’ allegation that each vial should contain a reconstituted
                          volume of 20.952 milliliters does not show any misconduct.

          Plaintiffs’ allegation that each vial of Herceptin does not contain precisely 20.952 mL

   following reconstitution, also cannot be the basis for a claim.

          First, Genentech has never stated the vials contain 20.952 mL (SAC ¶¶ 14, 37, 41, 47, 50,

   52(c), 57), and Plaintiffs do not allege otherwise. In fact, the Herceptin labeling does not state

   any volume each vial will contain following reconstitution. Instead, the labeling instructs

   providers to “[r]econstitute each 440 mg vial of Herceptin with 20 mL of Bacteriostatic Water


   13
      Plaintiffs’ reference to “overdose” is a red herring. (SAC ¶ 46.) Because the weight and
   volume is approximate, it is understood there will be minor variances in the concentration
   administered to patients. This minor variance poses no harm to patients and Plaintiffs do not
   allege otherwise.

                                                    9
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 16 of 32




   for Injection (BWFI), USP, containing 1.1% benzyl alcohol as a preservative to yield a multi-

   dose solution containing 21 mg/mL trastuzumab.” (SAC ¶ 33.)

          Furthermore, Plaintiffs’ math—that the theoretical total volume following reconstitution

   should be 20.952 mL—is based on the flawed premise that the weight and concentration are

   exact to the tenth of a decimal. To the contrary, as discussed above, the net weight and

   concentration of Herceptin are approximate and the law allows minor variances. The vial-to-vial

   variances likewise mean that the volume after reconstitution will differ somewhat from one vial

   to another. Because the law permits some variability, Plaintiffs fail to show any misconduct by

   Genentech regarding the total volume after reconstitution.

          Finally, Plaintiffs’ allegation that the vial does not contain 20.952 mL is not supported by

   well-pleaded facts. Plaintiffs never tested how much Herceptin solution the vials contain.

   Rather, Plaintiffs consider only how much Herceptin they were able to “obtain” following the

   Preparation of Administration Instruction, that is, how much Herceptin they were able to extract.

   (Id. ¶¶ 38, 39). As discussed below, the fact Plaintiffs were only able to extract 20.2 mL of

   solution from the vial does not show that the vial contained only 20.2 mL.

          B.      Plaintiffs’ Extractable Volume Allegations Fail To Show Any Misconduct.

          As shown in the previous section, Plaintiffs have not put forth well-pleaded factual

   allegations sufficient to warrant an assumption of truth, and even if they had, they have failed to

   state a claim because the weight, concentration, and total theoretical volume are approximate and

   the law allows for reasonable variances in manufacturing. But the gravamen of the Complaint is

   that Plaintiffs are unable to extract what they believe is the theoretical maximum amount of

   solution each vial should contain after reconstitution. Plaintiffs allege that the vials should

   contain exactly 20.952 mL, but that they are able to extract no more than 20.2 mL. (Id. ¶¶ 14,

   38, 39, 41, 47, 50, 57.) As with the allegations in the previous section, Plaintiffs’ allegations
                                                   10
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 17 of 32




   regarding the “extractable” volume fail to show any misconduct.                Genentech has never

   represented that health care providers could extract every drop of the Herceptin solution in the

   vials. Moreover, Plaintiffs’ other allegations all are based on this same implausible assumption,

   providing another reason the Complaint should be dismissed.

          Rule 8 “demands more than an unadorned, the defendant-unlawfully-harmed-me

   accusation.” Iqbal, 556 U.S. at 678. “Factual allegations must be enough to raise a right to relief

   above a speculative level.” Twombly, 550 U.S. at 555. Plaintiffs’ Complaint does not plead

   “factual content that allows the court to draw the reasonable inference that [Genentech] is liable

   for the misconduct alleged.” Iqbal, 556 U.S. at 678 (emphasis added) (citation omitted). “The

   plausibility standard . . . asks for more than a sheer possibility that a defendant has acted

   unlawfully.” Id. When, as here, the complaint “pleads facts that are ‘merely consistent with’ a

   defendant’s liability, it ‘stops short of the line between possibility and plausibility of ‘entitlement

   to relief.’ ” Id. (citation omitted); see also Silver v. Glass, 459 F. App’x 691, 697 (10th Cir.

   2012) (“allegations consistent with unlawful conduct, but more likely explained by lawful

   conduct, fail to suggest a plausible claim for relief”) (citing Iqbal, 556 U.S. at 679-80)).

   Evaluating plausibility is a “context-specific task” that requires the court to draw upon its

   “judicial experience” and “common sense.” Iqbal, 556 U.S. at 679.

          Genentech makes no representation as to the exact amount of Herceptin that can be

   extracted from the vials. Plaintiffs allege “each vial yields no more than 20.2 mL of fluid

   solution rather than [] 20.952 mL,” meaning that Plaintiffs were only able to extract 20.2 mL of

   solution from the vial. (SAC ¶ 41) (emphasis added). But the labeling does not state the total

   volume after reconstitution, let alone specify a volume providers will be able to extract.

   Plaintiffs pull this from thin air.     Moreover, as the Complaint acknowledges, 20.952 mL



                                                     11
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 18 of 32




   represents the volume of solution Plaintiffs believe the vials should theoretically contain.

   Genentech has never stated that every last drop of Herceptin can be extracted from the vial.

          Perhaps recognizing they cannot sustain a claim based on the amount of Herceptin they

   can extract, Plaintiffs go on to speculate that because they can only extract 20.2 mL, instead of

   the 20.952 mL Plaintiffs believe the vials should contain, Genentech must be misrepresenting

   440 mg as the net weight of each vial, or misrepresenting 21 mg/mL as the concentration of the

   reconstituted solution. (SAC ¶¶ 42, 45, 46.) But these claims are premised on the same flawed

   assumption that the amount of Herceptin Plaintiffs could extract is equivalent to the amount of

   Herceptin the vials contain.

          Plaintiffs’ allegations lack plausibility because they allege only the possibility that

   Genentech has misrepresented the weight or concentration of Herceptin in the vial, while

   ignoring the rather obvious explanation as to why Plaintiffs have not recovered the theoretical

   maximum from the vials that is entirely consistent with the weight and volume stated in the

   labeling: some residual amount of solution adheres to the walls of the vial (in this instance, less

   than a milliliter)14 and cannot be extracted.

          Everyday experience instructs us that it is not possible to extract every last bit of product

   from a container. Federal courts have rejected similar complaints for failure to plausibly allege

   that the defendant misrepresented a product’s usable weight. In Hawkins v. UGI Corp., 2016

   WL 270372 (C.D. Cal. Jan. 21, 2016), the plaintiff alleged that the labeling of pre-filled propane

   tanks was false and misleading because the tanks were labeled as having a net weight of 15

   pounds but approximately 10 percent of the propane was not usable or accessible. Id. at *1. The

   plaintiff claimed the labeling misled consumers into believing the tanks contained 15 pounds of


   14
     The minute volume Plaintiffs allege they are unable to extract (0.752 mL) is the equivalent of
   0.025 fluid ounces, or less than 1/6 of a teaspoon.
                                                   12
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 19 of 32




   “usable” propane. Id. As here, the defendants never represented that all of the propane was

   usable or accessible. Id. at *2. The court dismissed the claims for lack of plausibility:

                  It is well-known to consumers that it may be difficult or impossible
                  to extract every bit of a product from its packaging, as any
                  purchaser of toothpaste, peanut butter, shampoo, and a host of
                  other products is aware.     . . . It is implausible that a consumer
                  would interpret instructions regarding what to do with the
                  [“empty”] propane tank in his possession as a representation that
                  he would be able to utilize every last ounce of the full tank he
                  intended to purchase. Nor, given general consumer knowledge . . .
                  would any such interpretation be reasonable.

   Id.; see also Ebner v. Fresh Inc., 2013 WL 9760035, at *7 (C.D. Cal. Sept. 11, 2013) (dismissing

   as implausible the plaintiff’s claim that lip balm product was deceptively labeled because only

   75% of the stated weight was reasonably accessible). There are many products sold for which

   recovery of the entire contents is difficult, if not impossible. But this does not render the

   statement about the quantity contained false or misleading. Id. at *7 (“[T]he [lip balm] tube

   contains the amount of product stated on the label . . . . Simply put, the fact that the design does

   not allow for easy extraction of 100 percent of the product does not point to ‘misleading’ conduct

   on the part of the Defendant . . . products such as a tube of toothpaste and cosmetics such as

   mascara and lip gloss similarly can be difficult to extract or apply once the majority of the

   product has been used . . . Plaintiff points to no authority establishing that such a result is

   unlawful.”).   Accordingly, Plaintiffs “have not nudged their claims across the line from

   conceivable to plausible,” Twombly, 550 U.S. at 570, and the Complaint should be dismissed for

   lack of plausibility on this additional ground.

          C.      Plaintiffs’ Claims Are Preempted By Federal Law.

          Plaintiffs’ claims are preempted because they directly conflict with federal law regulating

   prescription drugs. Conflict preemption occurs when “it is impossible for a private party to

   comply with both state and federal requirements . . . .” In re Universal Serv. Fund Tel. Billing

                                                     13
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 20 of 32




   Practice Litig., 619 F.3d 1188, 1196 (10th Cir. 2010). The imposition of damages under state

   law is a form of state action subject to conflict preemption, Geier v. Am. Honda Motor Co., 529

   U.S. 861, 881 (2000); Riegel v. Medtronic, Inc., 552 U.S. 312, 324-25 (2008), and thus, if federal

   law conflicts with a supposed state-law obligation, damages cannot be ordered.

          Plaintiffs infer from the Herceptin labeling that reconstituted vials of Herceptin must

   deliver 20.952 mL of solution, but claim the vials deliver no more than 20.2 mL. (SAC ¶¶ 37-

   39.) Plaintiffs allege that Oklahoma law requires Genentech to market Herceptin in vials that

   ensure health care providers can recover 20.952 mL. But due to the small residual amounts of

   solution remaining in each vial, ensuring the vials can deliver this volume would require

   Genentech to increase the amount of Herceptin in each vial beyond 440 mg and the amount of

   diluent beyond 20 mL, both of which are the current FDA-approved specifications. It would be

   impossible for Genentech to comply with its federal law obligations, which prohibit Genentech

   from selling these vials with increased quantities of Herceptin and diluent without first obtaining

   FDA approval, and at the same time comply with a purported duty under Oklahoma law to sell

   vials that deliver 20.952 mL.     Accordingly, Plaintiffs’ claims are preempted and must be

   dismissed as a matter of law.

                  1.     State-law claims that would impose obligations requiring prior FDA
                         approval are preempted under recent Supreme Court decisions.

          The Supreme Court has established the standard for impossibility preemption in

   prescription drug cases in three recent decisions: Wyeth v. Levine, 555 U.S. 555 (2009), PLIVA,

   Inc. v. Mensing, 131 S. Ct. 2567 (2011), and Mutual Pharmaceutical Co. v. Bartlett, 133 S. Ct.

   2466 (2013). The clear rule in these cases is that “[t]he question for ‘impossibility’ is whether

   the private party could independently do under federal law what state law requires of it.”

   Mensing, 131 S. Ct. at 2579 (citing Levine, 555 U.S. at 573) (emphasis added). The outcome in


                                                   14
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 21 of 32




   each of the three cases depended on the nature of the duties prescribed by the plaintiffs’ claims

   and the federal regulations governing those duties.

          Levine and Mensing both involved failure-to-warn claims based on the product labeling.

   The Court held that the claims in Levine were not preempted because federal regulations

   expressly allowed the brand-name manufacturer (Wyeth) to unilaterally strengthen the warnings

   through a “changes being effected” (CBE) supplement without waiting for FDA approval. 555

   U.S. at 568 (citing 21 C.F.R. § 314.70(c)(6)(iii)). Because the regulation allowed a unilateral

   labeling change by the brand-name manufacturer in these particular circumstances, the Court

   held that preemption would apply only if Wyeth had “clear evidence” that FDA would have

   rejected the CBE labeling change. Id. at 571.

          In contrast, the Court held that similar claims in Mensing were preempted because the

   manufacturer could not unilaterally revise the labeling.     131 S. Ct. at 2575.     As generic

   manufacturers, the defendants in Mensing were obligated to keep the “same” labeling as the

   brand-name counterpart. Id. The Court held that “when a party cannot satisfy its state duties

   without the Federal Government’s special permission and assistance, which is dependent on the

   exercise of judgment by a federal agency, that party cannot independently satisfy those state

   duties for pre-emption purposes.” Id. at 2581.

          In Bartlett, the last of the trilogy, the Court held that a design-related claim against a

   manufacturer was preempted because the manufacturer could not unilaterally change the

   medication’s design. 133 S. Ct. at 2471. The Court found that 21 C.F.R. § 314.70(b)(2)(i)

   prohibits any prescription drug manufacturer—“whether generic or brand-name”—“from

   making any major changes to the ‘qualitative or quantitative formulation of the drug product,




                                                    15
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 22 of 32




   including active ingredients, or in the specifications provided in the approved application.’” 15

   133 S. Ct. at 2471 (emphasis added). “[S]tate-law design-defect claims . . . that place a duty on

   manufacturers to render a drug safer by either altering its composition or altering its labeling are

   in conflict with federal laws that prohibit manufacturers from unilaterally altering drug

   composition or labeling.” Id. at 2479.

          The Levine-Mensing-Bartlett trilogy establish that the question for preemption is whether

   the manufacturer could take the action required by the state-law claim without FDA’s prior

   approval. See Yates v. Ortho-McNeil-Janssen Pharm., Inc., 808 F.3d 281, 298 (6th Cir. 2015)

   (holding claims preempted because the pharmaceutical manufacturer could not change the

   “qualitative or quantitative formulation” of the drug without prior FDA approval); In re Celexa

   & Lexapro Mktg. & Sales Practices Litig., 779 F.3d 34, 40-41 (1st Cir. 2015) (preemption issue

   hinged on whether manufacturer could comply with plaintiff’s claim without prior FDA

   approval). Bartlett expressly recognizes that the applicable regulations apply to all prescription

   drugs, “whether generic or brand-name.” 133 S. Ct. at 2471. Neither a brand-name nor generic

   manufacturer can change the formulation or specifications for a prescription drug (or biologic)

   without FDA’s prior approval. 21 C.F.R. § 314.70(b)(2)(i); id. § 601.12(b)(2)(i); Carter v. Alcon

   Labs., Inc., 2014 WL 989002, at *5 (E.D. Mo. Mar. 13, 2014) (“In [Mensing] and Bartlett the

   Supreme Court held that state claims that would require relabeling ([Mensing]) or redesign

   (Bartlett) of a drug that could not be done by the manufacturer without prior approval by the

   FDA are preempted.”).




   15
      The corresponding regulation applicable to biologics, such as Herceptin, is 21 C.F.R. §
   601.12(b)(2)(i). 21 C.F.R. § 314.70(b)(2)(i) and § 601.12(b)(2)(i) both state that “major
   changes” include “changes in the qualitative or quantitative formulation, including inactive
   ingredients, or in the specifications provided in the approved application.”
                                                   16
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 23 of 32




          Following Bartlett, courts have held that state-law claims against brand-name

   manufacturers are preempted when the action the plaintiffs seek could not be taken without prior

   FDA approval. See Yates, 808 F.3d at 298-300 (affirming dismissal of design-defect claims

   against brand-name manufacturer because change would require prior FDA approval); In re

   Celexa, 779 F.3d at 40-43 (dismissing warnings claim against brand-name manufacturer because

   labeling change sought required prior FDA approval); Thompson v. Allergan USA, Inc., 993 F.

   Supp. 2d 1007, 1013-14 (E.D. Mo. 2014) (dismissing claims as preempted because eye drop

   manufacturer could not reduce fill volume in dropper vials without prior FDA approval); Amos v.

   Biogen Idec Inc., 28 F. Supp. 3d 164, 169 (W.D.N.Y. 2014) (dismissing design-defect claim

   against brand-name manufacturer because change would require prior FDA approval); Booker v.

   Johnson & Johnson, 54 F. Supp. 3d 868, 873-75 (N.D. Ohio 2014) (same).

                  2.     Reformulating Herceptin to ensure each vial delivers a volume of
                         20.952 milliliters following reconstitution would require prior FDA
                         approval.

          Because some residual solution remains in each vial following reconstitution and

   extraction, the only way to ensure providers can recover 20.952 mL is to reformulate Herceptin

   to include more than 440 mg of Herceptin powder and more than 20 mL of diluent.16 But as

   Bartlett recognizes, Genentech must obtain prior FDA approval for any “major changes” to

   Herceptin. 133 S. Ct. at 2471. As with other prescription drugs, federal law requires the

   manufacturer of a biologic to obtain prior FDA approval for any “changes in the qualitative or

   quantitative formulation, including inactive ingredients, or in the specifications provided in the

   approved application.” 21 C.F.R. § 601.12(b)(2)(i) (emphasis added). Increasing the amount of


   16
     This assumes the concentration remains the same. If the concentration were to change, that
   would be yet an additional reason Genentech would have to obtain prior FDA approval. See 21
   C.F.R. § 601.12(b)(2)(i).

                                                  17
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 24 of 32




   Herceptin powder in each vial and the amount of diluent supplied with the product would

   constitute a change to Herceptin’s “quantitative formulation” and “specifications.”17 Thompson

   v. Allergan USA, Inc. is on point. In Thompson, the plaintiffs challenged the volume in each vial

   of Allergan’s eye drop product, Restasis®, claiming that if Allergan filled each single-use vial

   with less medication consumers would save money. 993 F. Supp. 2d. at 1009. The court found

   the claims preempted because “reducing the amount of medicine in each Restasis vial is a major

   change requiring prior FDA approval.” Id. at 1014. Citing 21 C.F.R. § 314.70(b)(2)(i), which

   parallels § 601.12(b)(2)(i) for biologics, the court found that “a decrease in the fill volume of a

   drug product … involves a change to the specifications under the plain meaning of the statute.”

   Id.; see also Yates, 808 F.3d at 298 (changing amount of active ingredient in birth-control patch

   would change the “quantitative formulation” and thus requires prior FDA approval). Increasing

   the quantity of Herceptin and diluent to ensure the deliverable amount Plaintiffs’ state-law

   claims demand similarly would require prior FDA approval and thus Plaintiffs’ claims are

   preempted.

          D.      Plaintiffs’ Warranty Claims Fail As A Matter Of Law.

          Plaintiffs allege claims for breach of express and implied warranties. (SAC ¶¶ 48-53, 54-

   56.) Under the Uniform Commercial Code,18 an express warranty can be created in two ways

   potentially applicable here. First, “[a]ny affirmation of fact or promise made by the seller to the

   buyer which relates to the goods and becomes part of the basis of the bargain creates an express

   warranty that the goods shall conform to the affirmation or promise.” 12A Okla. Stat. § 2-313(1).

   17
      “Specifications” include the “acceptance criteria,” or the “numerical limits” and “ranges”
   provided in the approved application. 21 C.F.R. § 314.3(b).
   18
     Both of these claims are governed by the UCC because the underlying transaction involves the
   sale of goods. 12A Okla. Stat. § 2-102 (the UCC “applies to transactions in goods”); id. at §§ 2-
   103(2) & 2-105(1) (defining “goods” as “all things …which are movable at the time of
   identification to the contract for sale….”).
                                                   18
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 25 of 32




   Similarly, “[a]ny description of the goods which is made part of the basis of the bargain creates

   an express warranty that the goods shall conform to the description.” Id. § 2-313(2).

          Plaintiffs’ claim for breach of implied warranty of merchantability simply duplicates their

   express warranty claim because it is based on the same alleged product nonconformity.

   Specifically, Plaintiffs allege that Genentech breached an implied warranty of merchantability by

   providing Herceptin that was not consistent “in kind, quality, and quantity with the

   representations concerning the Herceptin product.” (SAC ¶ 54.) Thus, Plaintiffs invoke the

   provision of the UCC stating that a breach of the implied warranty of merchantability occurs

   when the product does “not conform to the promises or affirmations of fact made on the

   container or label.” 12A Okla. Stat. § 2-314(2)(f). As authorities have noted, this is essentially

   identical to an express warranty claim, except plaintiffs may not be required to prove reliance on

   the representation. See James White & Robert Summers, Uniform Commercial Code 493 (6th

   ed. 2010) (“This is a kind of bootstrap express warranty—but different. Under paragraph (f) [of

   UCC § 2-314(2)], it is not necessary for the buyer to show reliance on such representations to

   prove that they were the basis of the bargain.”). Accordingly, the analysis of Plaintiffs’ implied

   warranty claims collapses into the analysis of the express warranty claims. In addition to the

   grounds set forth above, Plaintiffs’ warranty claims fail for the reasons below.

                  1.      The net weight and concentration statements in the Herceptin labeling
                          are federally mandated disclosures and thus do not constitute an
                          express warranty.

          The declarations of net weight of the lyophilized Herceptin and concentration of the

   reconstituted solution are not express warranties because federal law requires them. 21 U.S.C. §

   352(b); 21 C.F.R. § 201.51(a) (“The label . . . shall bear a declaration of the net quantity of

   contents.”) (emphasis added). As a federal court in the Eastern District of New York recently

   explained:
                                                   19
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 26 of 32




                    [S]tatements mandated by federal law lack the fundamental
                    qualities of a warranty—i.e., they are not “contractual
                    commitment[s] that [a manufacturer] voluntarily undertook by
                    placing that warranty on its product.” Bates v. Dow Agrosciences
                    LLC, 544 U.S. 431, 444, 125 S.Ct. 1788, 161 L.Ed.2d 687 (2005).
                    The statements at issue here are net weights listed on product
                    labels. Federal law requires them to be there. See 21 C.F.R. §§
                    201.62(a), (f) (nonprescription drugs); id. §§ 701.13(a), (g)
                    (cosmetics).19 Accordingly, rather than voluntarily undertaken
                    contractual commitments, they are required disclosures.

   O’Connor v. Henkel Corp., 2015 WL 5922183, at *10 (E.D.N.Y. Sept. 22, 2015); see also

   Welchert v. American Cyanamid, Inc., 59 F.3d 69, 73 n.6 (8th Cir. 1995) (“A label statement

   specifically required by [a federal statute] and its corresponding federal regulations does not

   have the contractual quality of an express warranty . . . it is in the nature of a mandatory

   disclosure.”); Higgins v. Monsanto Co., 862 F. Supp. 751, 761 (N.D.N.Y. 1994) (“[E]xpress

   warranties have a voluntary quality, which is missing if they are mandated by [a federal agency].

   The rationale that warrantors should be held to contracts that they voluntarily enter into does not

   apply when their actions are forced.”).

             This District has previously acknowledged the voluntary nature of an express warranty.

   See Quillin v. American Hosp. Supply Corp., Inc., 1997 WL 382095, at *6 (N.D. Okla. Mar. 31,

   1997) (distinguishing between an “express warranty,” which is a “contractual commitment

   voluntarily undertaken,” and “a state-imposed duty”) (citing Cipollone v. Liggett Grp, Inc., 505

   U.S. 504, 525-26 (1992)). The declarations of net weight and concentration for Herceptin are

   federally mandated disclosures rather than a voluntary contractual commitment. Accordingly,

   they do not constitute an express warranty.20


   19
        These regulations parallel 21 C.F.R. § 201.51, which applies to prescription drugs.
   20
      Even if the labeling statements could be construed as express warranties, the labeling nowhere
   states that each vial will contain 20.952 mL after reconstitution, and makes no representation
   regarding the volume providers will be able to extract from each vial. See sections III.A.3, III.B.
                                                     20
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 27 of 32




                    2.      Genentech has not breached any express warranty.

              Plaintiffs’ warranty claims also fail because, even if the Court finds that Genentech did

   provide warranties regarding the amount of Herceptin, it did not breach those warranties, for all

   the reasons discussed in sections III.A and III.B. Briefly summarized, Plaintiffs’ allegation that

   vials of Herceptin may not contain 440 mg fails because (1) there are no well-pleaded facts to

   support it, including a lack of any net weight testing; (2) the allegation is contradicted by internal

   Genentech correspondence Plaintiffs attach to their Complaint; (3) the label states that 440 mg is

   a “nominal” amount, so some variance in net weight is expected; and (4) federal law and

   Oklahoma law allow for minor weight variances.

              Plaintiffs’ allegation that Genentech misrepresents the concentration of Herceptin after

   reconstitution similarly fails to allege a breach of warranty because: (1) Plaintiffs did not test the

   concentration of any reconstituted vial; (2) the labeling does not state that the concentration is

   precisely 21.0 mg/ml and could not be accurately stated to the tenth of a milligram in any event;

   (3) the net weight of lyophilized Herceptin is approximate, so the concentration will vary

   slightly; and (4) labeling the concentration as a whole number instead of a decimal fraction

   assists providers when calculating the dose.

              Finally, Plaintiffs’ warranty claim regarding the volume of reconstituted solution fails

   because: (1) the labeling does not declare what the reconstituted volume will be, or the volume

   providers will be able to extract; (2) the net weight of lyophilized Herceptin varies somewhat

   from vial to vial, as permitted by law, thus the reconstituted volume also will vary; and (3) the

   claim is not well-pleaded, as Plaintiffs never tested how much Herceptin solution the vials

   contain.




                                                     21
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 28 of 32




                      3.   Plaintiffs have failed to plead any injury.

           Plaintiffs allege that because they cannot recover from each vial the amount of Herceptin

   anticipated, they are “damaged due to the additional vials of Herceptin they were and are forced

   to purchase.” (SAC ¶¶ 53, 56.) This claim for damages fails for at least two reasons. First,

   Plaintiffs have not pleaded any factual allegations to support their claim that they are paying for

   a “usable” amount of 20.952 mL.           Plaintiffs presume from the stated net weight and

   concentration of Herceptin that the reconstituted volume will be 20.952 mL, but even so,

   Plaintiffs have not alleged any facts to support their belief that all 20.952 mL should be

   extractable from the vial. See Hawkins, 2016 WL 270372, at *2 (“It is well-known to consumers

   that it may be difficult or impossible to extract every bit of a product from its packaging, as any

   purchaser of toothpaste, peanut butter, shampoo, and a host of other products is aware.”).

   Reasonable consumers understand that some residual product will be left over in the container.

   Plaintiffs are not damaged simply because slightly more than half a milliliter of solution remains

   inside the vial.

           Second, Plaintiffs have not pleaded any factual support for their claim of injury. The

   Complaint does not allege any specific economic loss, only that Plaintiffs have been “forced” to

   purchase additional vials. While this allegation might suffice for a typical consumer, that is not

   true of Plaintiffs, which are medical clinics purchasing a prescription drug for administration to

   patients. Plaintiffs are reimbursed by Medicare and private insurers for the Herceptin Plaintiffs

   purchase and administer to patients, so merely pleading that they have had to purchase more

   vials than they otherwise would, does not allege an injury. Plaintiffs have not pleaded any facts

   to show they were not fully reimbursed for each Herceptin vial they administered to their

   patients. Accordingly, Plaintiffs have not pleaded any injury and their claims fail.



                                                   22
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 29 of 32




          E.      Plaintiffs’ Unjust Enrichment Claim Fails As A Matter Of Law.

          Plaintiffs’ unjust enrichment claim fails initially because they have an adequate remedy at

   law. In order to succeed on an unjust enrichment claim under Oklahoma law, Plaintiffs must

   establish an absence of remedies at law. Quarles v. Little River Energy Co., 2008 U.S. Dist.

   LEXIS 4128, at *4 (N.D. Okla. Jan. 18, 2008), aff’d sub nom Quarles v. Spess Oil Co., 2009

   U.S. App. LEXIS 2631 (10th Cir. Feb. 10, 2009) (emphasis added and citation omitted). “Where

   a party has an adequate remedy at law . . . regardless of whether the party actually recovers

   thereon, the party may not pursue a claim for unjust enrichment.”           Naylor Farms, Inc. v.

   Anadarko OGC Co., 2011 WL 7267851, at *1 (W.D. Okla. June 15, 2011) (citation omitted).

          Plaintiffs have an adequate remedy at law because the transactions that form the bases of

   Plaintiffs’ Complaint are separate contracts for the sale of goods. Id.; Morrison v. Stonebridge

   Life. Ins. Co., 2015 WL 137261, at *7 (W.D. Okla. Jan. 9, 2015). Under these contracts,

   Plaintiffs have all legal remedies available to them under the UCC, including the breach of

   warranty claims asserted here. The UCC provides a comprehensive statutory scheme governing

   the rights and liabilities of parties to a sales contract. For these reasons, Plaintiffs’ unjust

   enrichment claim fails as a matter of law.

          Even if the Court were to reach the merits of the unjust enrichment claim, it fails on the

   face of the Complaint. Plaintiffs allege that Genentech receives “an unfair benefit” from selling

   vials “that yield only 20.2 mL of usable Herceptin fluid solution,” while “receiving payment for

   20.952 mL of product for each vial sold.” (SAC ¶ 57.)         To succeed on an unjust enrichment

   claim, Plaintiffs must plead facts sufficient to establish that “it is contrary to equity and good

   conscience for [Genentech] to retain a benefit which has come to [it] at the expense of another.”

   Slover v. Equitable Variable Life Ins. Co., 443 F. Supp. 2d 1272, 1280 (N.D. Okla. 2006)

   (citations omitted). For all the reasons discussed in the previous sections of this brief, Plaintiffs
                                                    23
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 30 of 32




   have not pleaded facts showing that Genentech has received any unjust benefit from its sale of

   Herceptin. Further, as the court in Ebner noted, “whatever difficulty there is in extracting 100

   percent of the product, it does not redound to the benefit of the manufacturer.” 2013 WL

   9760035, at *8; id. at *9 (dismissing plaintiffs’ unjust enrichment claim).        Accordingly,

   Plaintiffs’ unjust enrichment claim should be dismissed.

   IV.    CONCLUSION

          For all the foregoing reasons, Genentech respectfully requests that Plaintiffs’ Second

   Amended Complaint be dismissed.        Because any further amendments would be futile, the

   dismissal should be with prejudice.


   DATED: February 16, 2016                    Respectfully submitted,

                                               /s/ William W. O’Connor
                                               WILLIAM W. O’CONNOR, OBA #13200
                                               NEWTON, O’CONNOR, TURNER & KETCHUM
                                               15 W. 6th Street, Suite 2700
                                               Tulsa, OK 74119
                                               Telephone: (918) 587-0101
                                               Facsimile: (918) 587-0102
                                               Email: boconnor@newtonconnor.com
                                                       -and-
                                               ALICIA J. DONAHUE, Bar No. 117412
                                               (admitted pro hac vice)
                                               SHOOK, HARDY & BACON LLP
                                               One Montgomery, Suite 2700
                                               San Francisco, CA 94104
                                               Telephone: (415) 544-1900
                                               Facsimile: (415) 391-0281
                                               Email: adonahue@shb.com
                                               JAMES P. MUEHLBERGER, Bar No. 51346
                                               (admitted pro hac vice)
                                               SHOOK, HARDY & BACON LLP
                                               2555 Grand Blvd.
                                               Kansas City, MO 64108
                                               Telephone: (816) 474-6550



                                                  24
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 31 of 32




                                       Facsimile: (816) 421-5547
                                       Email: jmuehlberger@shb.com

                                       Attorneys for Defendant Genentech, Inc.




                                         25
Case 4:15-cv-00157-TCK-JFJ Document 92 Filed in USDC ND/OK on 02/16/16 Page 32 of 32




                                  CERTIFICATE OF SERVICE

           I hereby certify that on the 16th day of February, 2016, the foregoing document was
   electronically filed with the Clerk of the Court using the CM/ECF system, which will send
   notification of such filing to the following:

   Steven J. Adams
   David E. Keglovits
   James Wesley Scott Pebsworth
   Adam C. Doverspike

   ATTORNEYS FOR PLAINTIFFS

                                                    /s/ William W. O’Connor
                                                    William W. O'Connor




                                               26
